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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 CHRISTOPHER E. DORWORTH,
        Plaintiff,
 v.
 JOEL MICAH GREENBERG, ANDREW W.                        Case No.: 6:23-CV-00871
 GREENBERG, SUE GREENBERG, ABBY
 GREENBERG, AWG, INC., GREENBERG
 DENTAL ASSOCIATES, LLC, GREENBERG
 DENTAL & ORTHODONTICS, P.A.,
 GREENBERG DENTAL SPECIALTY GROUP,
 LLC, and A.B.,
        Defendants.




         NOTICE OF WITHDRAWAL OF PARAGRAPHS FROM COMPLAINT

       Plaintiff Chris Dorworth hereby provides notice that he is withdrawing Paragraphs 353,

634, 635, 645, 648, and 789, all from the Verified Complaint filed in the Eighteenth Judicial Circuit

on April 7, 2023. This withdrawal is without prejudice, as a courtesy to Abby Greenberg, and

solely to streamline the allegations and avoid unnecessary litigation.

Filed: July 7, 2023.                                  Respectfully Submitted,

                                                      /s/Michael Paul Beltran
                                                      Michael P Beltran
                                                      Fla. Bar No. 0093184
                                                      Beltran Litigation, P.A.
                                                      4920 West Cypress St.
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                                                      Tampa, FL 33607
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                                                      mike@beltranlitigation.com
                                                      Counsel for Plaintiff Dorworth
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                                CERTIFICATE OF SERVICE

       I will file a copy of the foregoing on the Court’s electronic system, which will send a
copy to all counsel of record.
                                                     /s/Michael Paul Beltran
                                                     Michael P Beltran
